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                                                 Objection Deadline: July 28, 2022 at 4:00 p.m. (Eastern Time)
                                                   Hearing Date: August 4, 2022 at 10:00 a.m. (Eastern Time)

 JONES DAY                                                  JONES DAY
 Corinne Ball                                               Christopher DiPompeo (pro hac vice)
 Todd Geremia                                               51 Louisiana Ave., N.W.
 Benjamin Rosenblum                                         Washington, D.C. 20001
 Andrew Butler                                              Telephone: (202) 879-7686
 250 Vesey Street                                           Facsimile: (202) 626-1700
 New York, New York 10281
 Telephone:    (212) 326-3939
 Facsimile:    (212) 755-7306

 Counsel for the Debtor
 and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                              :
In re:                        :
                              :
THE ROMAN CATHOLIC DIOCESE OF :
ROCKVILLE CENTRE, NEW YORK,1  :                              Case No. 20-12345 (MG)
                              :
                              :
Debtor.                       :
                              :
                              :
THE ROMAN CATHOLIC DIOCESE OF :
ROCKVILLE CENTRE, NEW YORK,   :
                              :
Plaintiff,                    :
                              :
v.                            :                              Adv. Pro. No. 20-01226
                              :
                   2
ARK320 DOE, et al.,           :
                              :
Defendants.                   :
                              :

                              NOTICE OF MOTION
                        FOR PRELIMINARY INJUNCTION
             UNDER SECTIONS 362 AND 105(a) OF THE BANKRUPTCY CODE

1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.
2
  A full list of the Defendants in this adversary proceeding is included in Exhibit A to the Verified Complaint for
Declaratory and Injunctive Relief [Adv. Pro. Docket No. 1].
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       PLEASE TAKE NOTICE that Plaintiff The Roman Catholic Diocese of Rockville

Centre, New York (the “Debtor” or “DRVC”), upon the accompanying (i) memorandum of law,

dated July 21, 2022; and (ii) the Declaration of Eric P. Stephens, dated July 21, 2022, the

Declaration of Charles Moore, dated July 21, 2022, and the Declaration of Kenneth F. Porter,

dated July 21, 2022, and the exhibits annexed thereto, hereby moves this Court under 11 U.S.C.

§§ 362 and 105(a), and Rule 7065 of the Federal Rules of Bankruptcy Procedure, for an Order,

substantially in the form attached hereto as Exhibit A, enjoining the prosecution of the claims

identified in Exhibit A to the Debtor’s memorandum of law.

       PLEASE TAKE FURTHER NOTICE that:

       1)      Objections or oppositions, if any, to the relief sought by the Debtor be in writing
               and filed with the Court and served no later than July 28, 2022 at 4:00 p.m.
               (Eastern Time) (the “Objection Deadline”);

       2)      A reply, if any, to objections timely filed must be in writing and filed with the
               Court and served no later than August 1, 2022 at 4:00 p.m. (Eastern Time) (the
               “Reply Deadline”).

       PLEASE TAKE FURTHER NOTICE that a hearing on the motion (the “Hearing”) by

the Debtor has been proposed to be held before the Honorable Martin Glenn, Chief United States

Bankruptcy Judge for the Southern District of New York, in the United States Bankruptcy Court

for the Southern District of New York (the “Court”) on August 4, 2022, at 10:00 a.m. (Eastern

Time) or as soon thereafter as counsel may be heard (the “Hearing”). The Hearing will be a

hybrid Zoom/live hearing, with some participants appearing by Zoom for Government and

others appearing in the U.S. Bankruptcy Court for the Southern District of New York, located at

One Bowling Green, New York, NY, in Courtroom 523.




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       PLEASE TAKE FURTHER NOTICE that parties wishing to appear at the Hearing via

Zoom for Government, whether making a “live” or “listen only” appearance before the Court,

must make an electronic appearance through the Court’s website at

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or before August 3, 2022, at 4:00

p.m. (prevailing Eastern Time). After the deadline for parties to make electronic appearances

has passed, parties who have made their electronic appearance through the Court’s website will

receive an invitation from the Court with a Zoom link that will allow them to attend the Hearing.

Requests to receive a Zoom link should not be emailed to the Court, and the Court will not

respond to late requests that are submitted on the day of the hearing. Further information on the

use of Zoom for Government can be found at the Court’s website at

https://www.nysb.uscourts.gov/zoom-video-hearing-guide.

       PLEASE TAKE FURTHER NOTICE that some parties will be attending the Hearing

in person. All persons who enter the courthouse must be fully vaccinated, must present proof of

vaccination status to court personnel, and must comply with General Order M-587, available at

https://www.nysb.uscourts.gov/sites/default/files/m587.pdf. Because courtroom capacity is

limited, any person who wishes to appear in person must contact the Courtroom Deputy, Deanna

Anderson, at mg.chambers@nysb.uscourts.gov by August 1, 2021, at 1:00 p.m. (prevailing

Eastern Time) to request and coordinate an in-person appearance.

       PLEASE TAKE FURTHER NOTICE that the Hearing may be adjourned from time to

time without further notice other than the filing of a notice on the Court’s electronic docket for

this case or the announcement of such adjournment in open court.



                          [Remainder of Page Intentionally Left Blank]
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 Dated: July 21, 2022                      Respectfully submitted,
     New York, New York

                                            /s/ Corinne Ball
                                            Corinne Ball
                                            Todd Geremia
                                            Benjamin Rosenblum
                                            Andrew Butler
                                            JONES DAY
                                            250 Vesey Street
                                            New York, NY 10281-1047
                                            Telephone: (212) 326-3939
                                            Facsimile: (212) 755-7306
                                            Email: cball@jonesday.com
                                                    trgeremia@jonesday.com
                                                    brosenblum@jonesday.com
                                                    abutler@jonesday.com

                                                   -and-

                                            Christopher J. DiPompeo (pro hac vice pending)
                                            JONES DAY
                                            51 Louisiana Ave., N.W.
                                            Washington, D.C. 20001
                                            Telephone: (202) 879-7686
                                            Facsimile: (202) 626-1700
                                            Email: cdipompeo@jonesday.com

                                            Proposed Counsel for the Debtor and
                                            Debtor in Possession




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                                  EXHIBIT A

                                Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                   :
In re:                                                             :     Chapter 11
                                                                   :
THE ROMAN CATHOLIC DIOCESE OF                                      :     Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                        :
                                                                   :
                    Debtor.                                        :
                                                                   :
THE ROMAN CATHOLIC DIOCESE OF                                      :
ROCKVILLE CENTRE, NEW YORK,                                        :
                                                                   :
                    Plaintiff,                                     :
                                                                   :     Adv. Pro. No. 20-01226 (MG)
          v.                                                       :
                                                                   :
ARK320 DOE, et al.,1                                               :
                                                                   :
                    Defendants.                                    :


                                ORDER GRANTING THE DEBTOR’S
                             MOTION FOR A PRELIMINARY INJUNCTION

          Upon consideration of the motion for an order (this “Order”) and the accompanying

memorandum of law, dated July 21, 2022 (the “Memorandum of Law”)2 of the Debtor, as above-

captioned Plaintiff (the “Plaintiff”) in the adversary proceeding commenced by the Verified

Complaint for Injunctive Relief (the “Complaint”), and as debtor and debtor in possession in the

above-captioned chapter 11 case, for entry of an order extending the stay to enjoin the

prosecution of the State Court Actions under sections 105 and 362 of title 11 of the United States


1 A full list of the Defendants in this adversary proceeding is included in Exhibit A to the Verified Complaint for Declaratory and

Injunctive Relief [Adv. Pro. Docket No. 1].
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Memorandum of

Law.
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Code (the “Bankruptcy Code”) and Rule 7065 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”); the Court having reviewed and considered the Complaint, the Motion, the

briefs, declarations and other documents filed in support of the Motion, all other evidence and

argument submitted by the Plaintiff in support thereof, and all objections and replies thereto; and

due and proper notice of the Motion having been given, and no other or further notice being

necessary or required; and the Court having held a hearing; and after due deliberation and

sufficient cause appearing therefore; the Court finds and concludes as follows:

        A.      The Plaintiff in this adversary proceeding is debtor The Roman Catholic Diocese

of Rockville Centre, New York. The Defendants in this adversary proceeding are those parties

listed in Exhibit A to the Complaint. The Defendants are all plaintiffs in lawsuits that seek to

hold the Debtor or the DRVC Related Parties liable in actions that include claims and/or causes

of action arising out of the plaintiffs’ involvement or connection with the Debtor.

        B.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, dated January 31, 2012. This is a core proceeding under 28

U.S.C. § 157(b)(2). The Debtor has confirmed its consent to the entry of a final order or

judgment by the Court if it is determined that the Court, absent consent of the parties, cannot

enter final order or judgments consistent with Article III of the United States Constitution. Venue

in this district is proper under 28 U.S.C. §§ 1408 and 1409.

        C.      The legal and factual bases set forth in the Complaint, the Memorandum of Law,

and declarations in support thereof, other supporting papers, and at the hearing establish just cause

for the relief granted herein.

Based on these findings, IT IS HEREBY ORDERED THAT:
                                                    -2-
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       1.      The relief requested by the Debtor is GRANTED as set forth herein.

       2.      Continued prosecution of the State Court Actions reflected in Exhibit B is hereby

enjoined until December 8, 2022 (such period, as may be extended by order of this Court, the

“Stay Period”). Any applicable deadline for any action to be taken in any State Court Action is

hereby tolled for the duration of the Stay Period.

       3.      The Debtor is authorized to take all actions necessary or appropriate to carry out

this Order.

       4.      Nothing in this Order shall prevent the Debtor from seeking a further extension of

the requested preliminary injunction (i) beyond the Stay Period, or (ii) to newly filed actions

against the DRVC Related Parties after the date of this Order.

       5.      Nothing in this Order shall affect, modify, or abrogate the automatic stay as to the

Debtor under 11 U.S.C. § 362.

       6.      This Order shall be promptly filed in the clerk’s office and entered into the record.

       7.      This Court shall retain exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.



Dated: ____________, 2022                     _____________________________________
       New York, NY                           THE HONORABLE MARTIN GLENN
                                              UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT B

                           (List of State Court Actions)
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                            List of State Court Actions

                      Plaintiff(s)                         Index No.
 1.                 NAME ON FILE                          506103/2020
 2.                 NAME ON FILE                          506559/2020
 3.                 NAME ON FILE                          512125/2020
 4.                 NAME ON FILE                          512319/2020
 5.                 NAME ON FILE                          512833/2020
 6.                 NAME ON FILE                          513632/2020
 7.                 NAME ON FILE                          513885/2020
 8.                 NAME ON FILE                          515746/2020
 9.                 NAME ON FILE                          452564/2020
 10.                NAME ON FILE                          517533/2020
 11.                NAME ON FILE                          518025/2020
 12.                NAME ON FILE                          518289/2020
 13.                NAME ON FILE                          518726/2019
 14.                NAME ON FILE                          519191/2019
 15.                NAME ON FILE                          519862/2019
 16.                NAME ON FILE                          522308/2019
 17.                NAME ON FILE                          524748/2019
 18.                NAME ON FILE                          526614/2019
 19.                NAME ON FILE                          527922/2019
 20.                NAME ON FILE                          600873/2020
 21.                NAME ON FILE                          605941/2020
 22.                NAME ON FILE                          606396/2020
 23.                NAME ON FILE                          606672/2020
 24.                NAME ON FILE                          606674/2020
 25.                NAME ON FILE                          607467/2020
 26.                NAME ON FILE                          607768/2020
 27.                NAME ON FILE                          608381/2020
 28.                NAME ON FILE                          609115/2020
 29.                NAME ON FILE                          610600/2020
 30.                NAME ON FILE                          611155/2019
 31.                NAME ON FILE                          615903/2019
 32.                NAME ON FILE                          617355/2019
 33.                NAME ON FILE                          618528/2019
 34.                NAME ON FILE                          618542/2019
 35.                NAME ON FILE                          619881/2019
 36.                NAME ON FILE                          620497/2019
 37.                NAME ON FILE                          621553/2019
 38.                NAME ON FILE                          624824/2019
 39.                NAME ON FILE                          900001/2019
 40.                NAME ON FILE                          900002/2019
 41.                NAME ON FILE                          900002/2020
 42.                NAME ON FILE                          900003/2019
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                      Plaintiff(s)                        Index No.
 43.                NAME ON FILE                         900003/2020
 44.                NAME ON FILE                         900004/2019
 45.                NAME ON FILE                         900004/2020
 46.                NAME ON FILE                         900043/2020
 47.                NAME ON FILE                         900005/2019
 48.                NAME ON FILE                         900006/2019
 49.                NAME ON FILE                         900006/2020
 50.                NAME ON FILE                         900007/2019
 51.                NAME ON FILE                         900008/2019
 52.                NAME ON FILE                         900008/2020
 53.                NAME ON FILE                         900010/2019
 54.                NAME ON FILE                         900010/2020
 55.                NAME ON FILE                         900011/2019
 56.                NAME ON FILE                         900011/2020
 57.                NAME ON FILE                         900012/2019
 58.                NAME ON FILE                         900012/2020
 59.                NAME ON FILE                         900013/2019
 60.                NAME ON FILE                         900013/2020
 61.                NAME ON FILE                         900014/2019
 62.                NAME ON FILE                         900014/2020
 63.                NAME ON FILE                         900015/2019
 64.                NAME ON FILE                         900015/2020
 65.                NAME ON FILE                         900016/2019
 66.                NAME ON FILE                         900017/2019
 67.                NAME ON FILE                         900017/2020
 68.                NAME ON FILE                         900018/2020
 69.                NAME ON FILE                         900019/2019
 70.                NAME ON FILE                         900020/2019
 71.                NAME ON FILE                         900021/2019
 72.                NAME ON FILE                         900022/2019
 73.                NAME ON FILE                         900022/2020
 74.                NAME ON FILE                         900024/2019
 75.                NAME ON FILE                         900025/2019
 76.                NAME ON FILE                         900027/2019
 77.                NAME ON FILE                         900028/2019
 78.                NAME ON FILE                         900029/2019
 79.                NAME ON FILE                         900029/2020
 80.                NAME ON FILE                         900030/2020
 81.                NAME ON FILE                         900031/2019
 82.                NAME ON FILE                         900031/2020
 83.                NAME ON FILE                         900032/2019
 84.                NAME ON FILE                         900032/2020
 85.                NAME ON FILE                         900033/2020
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                      Plaintiff(s)                        Index No.
 86.                NAME ON FILE                         900035/2019
 87.                NAME ON FILE                         900036/2019
 88.                NAME ON FILE                         900036/2020
 89.                NAME ON FILE                         900037/2019
 90.                NAME ON FILE                         900039/2019
 91.                NAME ON FILE                         900040/2019
 92.                NAME ON FILE                         900041/2019
 93.                NAME ON FILE                         900041/2020
 94.                NAME ON FILE                         900042/2019
 95.                NAME ON FILE                         900044/2020
 96.                NAME ON FILE                         900045/2019
 97.                NAME ON FILE                         900045/2020
 98.                NAME ON FILE                         900046/2019
 99.                NAME ON FILE                         900046/2020
 100.               NAME ON FILE                         900047/2020
 101.               NAME ON FILE                         900048/2019
 102.               NAME ON FILE                         900048/2020
 103.               NAME ON FILE                         900050/2019
 104.               NAME ON FILE                         900050/2020
 105.               NAME ON FILE                         900051/2019
 106.               NAME ON FILE                         900051/2020
 107.               NAME ON FILE                         900052/2019
 108.               NAME ON FILE                         900052/2020
 109.               NAME ON FILE                         900053/2019
 110.               NAME ON FILE                         900053/2020
 111.               NAME ON FILE                         900054/2019
 112.               NAME ON FILE                         900054/2020
 113.               NAME ON FILE                         900055/2020
 114.               NAME ON FILE                         900056/2020
 115.               NAME ON FILE                         900057/2019
 116.               NAME ON FILE                         900057/2020
 117.               NAME ON FILE                         900058/2020
 118.               NAME ON FILE                         900059/2020
 119.               NAME ON FILE                         900060/2020
 120.               NAME ON FILE                         900061/2020
 121.               NAME ON FILE                         900062/2020
 122.               NAME ON FILE                         900063/2020
 123.               NAME ON FILE                         900064/2019
 124.               NAME ON FILE                         900064/2020
 125.               NAME ON FILE                         900065/2020
 126.               NAME ON FILE                         900066/2020
 127.               NAME ON FILE                         900067/2020
 128.               NAME ON FILE                         900068/2019
                                         -3-
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                      Plaintiff(s)                        Index No.
 129.               NAME ON FILE                         900068/2020
 130.               NAME ON FILE                         900069/2019
 131.               NAME ON FILE                         900069/2020
 132.               NAME ON FILE                         900070/2019
 133.               NAME ON FILE                         900070/2020
 134.               NAME ON FILE                         900071/2019
 135.               NAME ON FILE                         900071/2020
 136.               NAME ON FILE                         900072/2019
 137.               NAME ON FILE                         900072/2020
 138.               NAME ON FILE                         900073/2019
 139.               NAME ON FILE                         900073/2020
 140.               NAME ON FILE                         900074/2020
 141.               NAME ON FILE                         900075/2020
 142.               NAME ON FILE                         900076/2020
 143.               NAME ON FILE                         900077/2020
 144.               NAME ON FILE                         900078/2020
 145.               NAME ON FILE                         900079/2020
 146.               NAME ON FILE                         900080/2020
 147.               NAME ON FILE                         900081/2020
 148.               NAME ON FILE                         900084/2020
 149.               NAME ON FILE                         900085/2020
 150.               NAME ON FILE                         900086/2020
 151.               NAME ON FILE                         900087/2020
 152.               NAME ON FILE                         900094/2020
 153.               NAME ON FILE                         900095/2020
 154.               NAME ON FILE                         900099/2020
 155.               NAME ON FILE                         900101/2020
 156.               NAME ON FILE                         900102/2020
 157.               NAME ON FILE                         900103/2020
 158.               NAME ON FILE                         900105/2020
 159.               NAME ON FILE                         900107/2020
 160.               NAME ON FILE                         900109/2020
 161.               NAME ON FILE                         900110/2020
 162.               NAME ON FILE                         900111/2020
 163.               NAME ON FILE                         900112/2020
 164.               NAME ON FILE                         900113/2020
 165.               NAME ON FILE                         900114/2020
 166.               NAME ON FILE                         900115/2020
 167.               NAME ON FILE                         900117/2020
 168.               NAME ON FILE                         900118/2020
 169.               NAME ON FILE                         900119/2020
 170.               NAME ON FILE                         900120/2020
 171.               NAME ON FILE                         900121/2020
                                         -4-
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                      Plaintiff(s)                        Index No.
 172.               NAME ON FILE                         900122/2020
 173.               NAME ON FILE                         900124/2020
 174.               NAME ON FILE                         900125/2020
 175.               NAME ON FILE                         900126/2020
 176.               NAME ON FILE                         900127/2020
 177.               NAME ON FILE                         900128/2020
 178.               NAME ON FILE                         900129/2020
 179.               NAME ON FILE                         900130/2020
 180.               NAME ON FILE                         900131/2020
 181.               NAME ON FILE                         900132/2020
 182.               NAME ON FILE                         900133/2020
 183.               NAME ON FILE                         900134/2020
 184.               NAME ON FILE                         900135/2020
 185.               NAME ON FILE                         900136/2020
 186.               NAME ON FILE                         900137/2020
 187.               NAME ON FILE                         900138/2020
 188.               NAME ON FILE                         900139/2020
 189.               NAME ON FILE                         900143/2020
 190.               NAME ON FILE                         900145/2020
 191.               NAME ON FILE                         900149/2020
 192.               NAME ON FILE                         900150/2020
 193.               NAME ON FILE                         900152/2020
 194.               NAME ON FILE                         900153/2020
 195.               NAME ON FILE                         900165/2020
 196.               NAME ON FILE                         900168/2020
 197.               NAME ON FILE                         900170/2020
 198.               NAME ON FILE                         900171/2020
 199.               NAME ON FILE                         900172/2020
 200.               NAME ON FILE                         900173/2020
 201.               NAME ON FILE                         900174/2020
 202.               NAME ON FILE                         950002/2019
 203.               NAME ON FILE                         950167/2019
 204.               NAME ON FILE                         950169/2019
 205.               NAME ON FILE                         950229/2020
 206.               NAME ON FILE                         950245/2020
 207.               NAME ON FILE                         950535/2020
 208.               NAME ON FILE                         950642/2020
 209.               NAME ON FILE                         950685/2020
 210.               NAME ON FILE                         614160/2020
 211.               NAME ON FILE                         900001/2021
 212.               NAME ON FILE                         RESERVED
 213.               NAME ON FILE                         900006/2021
 214.               NAME ON FILE                         900007/2021
                                         -5-
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                      Plaintiff(s)                        Index No.
 215.               NAME ON FILE                         900008/2021
 216.               NAME ON FILE                         900030/2019
 217.               NAME ON FILE                         618005/2020
 218.               NAME ON FILE                         603159/2021
 219.               NAME ON FILE                         600406/2015
 220.               NAME ON FILE                         613879/2018
 221.               NAME ON FILE                         613853/2017
 222.               NAME ON FILE                         515579/2020
 223.               NAME ON FILE                         513592/2020
 224.               NAME ON FILE                         513586/2020
 225.               NAME ON FILE                         609397/2019
 226.               NAME ON FILE                         900016/2021
 227.               NAME ON FILE                         900015/2021
 228.               NAME ON FILE                         900010/2021
 229.               NAME ON FILE                         900011/2021
 230.               NAME ON FILE                         900017/2021
 231.               NAME ON FILE                         900029/2021
 232.               NAME ON FILE                         510647/2021
 233.               NAME ON FILE                         900037/2021
 234.               NAME ON FILE                         900036/2021
 235.               NAME ON FILE                         900042/2021
 236.               NAME ON FILE                         900041/2021
 237.               NAME ON FILE                         900040/2021
 238.               NAME ON FILE                         70043/2021E
 239.               NAME ON FILE                         606441/2021
 240.               NAME ON FILE                         610846/2021
 241.               NAME ON FILE                         RESERVED
 242.               NAME ON FILE                         900055/2021
 243.               NAME ON FILE                         900057/2021
 244.               NAME ON FILE                         508122/2021
 245.               NAME ON FILE                         RESERVED
 246.               NAME ON FILE                         900061/2021
 247.               NAME ON FILE                         900050/2021
 248.               NAME ON FILE                         900048/2021
 249.               NAME ON FILE                         900044/2021
 250.               NAME ON FILE                         900047/2021
 251.               NAME ON FILE                         900060/2021
 252.               NAME ON FILE                         900034/2021
 253.               NAME ON FILE                         900064/2021
 254.               NAME ON FILE                         900069/2021
 255.               NAME ON FILE                         514079/2021
 256.               NAME ON FILE                         514064/2021
 257.               NAME ON FILE                         900035/2021
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                      Plaintiff(s)                        Index No.
 258.               NAME ON FILE                         611047/2021
 259.               NAME ON FILE                         610249/2021
 260.               NAME ON FILE                         610244/2021
 261.               NAME ON FILE                         610938/2021
 262.               NAME ON FILE                         610245/2021
 263.               NAME ON FILE                         610849/2021
 264.               NAME ON FILE                         610237/2021
 265.               NAME ON FILE                         610228/2021
 266.               NAME ON FILE                         610406/2021
 267.               NAME ON FILE                         900024/2021
 268.               NAME ON FILE                         610036/2021
 269.               NAME ON FILE                         RESERVED
 270.               NAME ON FILE                         900058/2021
 271.               NAME ON FILE                         611337/2021
 272.               NAME ON FILE                         900073/2021
 273.               NAME ON FILE                         900075/2021
 274.               NAME ON FILE                         900078/2021
 275.               NAME ON FILE                         900079/2021
 276.               NAME ON FILE                         900080/2021
 277.               NAME ON FILE                         900096/2021
 278.               NAME ON FILE                         900088/2021
 279.               NAME ON FILE                         900095/2021
 280.               NAME ON FILE                         900090/2021
 281.               NAME ON FILE                         900092/2021
 282.               NAME ON FILE                         900097/2021
 283.               NAME ON FILE                         900093/2021
 284.               NAME ON FILE                         900089/2021
 285.               NAME ON FILE                         900086/2021
 286.               NAME ON FILE                         900087/2021
 287.               NAME ON FILE                         900091/2021
 288.               NAME ON FILE                         900099/2021
 289.               NAME ON FILE                         612686/2021
 290.               NAME ON FILE                         513591/2020
 291.               NAME ON FILE                         400094/2021
 292.               NAME ON FILE                         900102/2021
 293.               NAME ON FILE                         900105/2021
 294.               NAME ON FILE                         612520/2021
 295.               NAME ON FILE                         613012/2021
 296.               NAME ON FILE                         613013/2021
 297.               NAME ON FILE                         900094/2021
 298.               NAME ON FILE                         613014/2021
 299.               NAME ON FILE                         900110/2021
 300.               NAME ON FILE                         613020/2021
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 302.               NAME ON FILE                         613213/2021
 303.               NAME ON FILE                         900121/2021
 304.               NAME ON FILE                         613430/2021
 305.               NAME ON FILE                         900104/2021
 306.               NAME ON FILE                         900125/2021
 307.               NAME ON FILE                         900126/2021
 308.               NAME ON FILE                         900127/2021
 309.               NAME ON FILE                         900128/2021
 310.               NAME ON FILE                         613335/2021
 311.               NAME ON FILE                         900123/2021
 312.               NAME ON FILE                         900122/2021
 313.               NAME ON FILE                         900130/2021
 314.               NAME ON FILE                         900133/2021
 315.               NAME ON FILE                         900132/2021
 316.               NAME ON FILE                         900134/2021
 317.               NAME ON FILE                         900135/2021
 318.               NAME ON FILE                         900137/2021
 319.               NAME ON FILE                         900138/2021
 320.               NAME ON FILE                         900139/2021
 321.               NAME ON FILE                         613730/2021
 322.               NAME ON FILE                         613731/2021
 323.               NAME ON FILE                         900141/2021
 324.               NAME ON FILE                         900142/2021
 325.               NAME ON FILE                         900146/2021
 326.               NAME ON FILE                         900144/2021
 327.               NAME ON FILE                         900145/2021
 328.               NAME ON FILE                         900147/2021
 329.               NAME ON FILE                         900148/2021
 330.               NAME ON FILE                         900149/2021
 331.               NAME ON FILE                         900150/2021
 332.               NAME ON FILE                         900103/2021
 333.               NAME ON FILE                         900136/2021
 334.               NAME ON FILE                         900159/2021
 335.               NAME ON FILE                         613015/2021
 336.               NAME ON FILE                         900160/2021
 337.               NAME ON FILE                         614399/2021
 338.               NAME ON FILE                         614400/2021
 339.               NAME ON FILE                         614401/2021
 340.               NAME ON FILE                         614402/2021
 341.               NAME ON FILE                         900166/2021
 342.               NAME ON FILE                         900168/2021
 343.               NAME ON FILE                         613957/2021
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 345.               NAME ON FILE                         614403/2021
 346.               NAME ON FILE                         614404/2021
 347.               NAME ON FILE                         614405/2021
 348.               NAME ON FILE                         614406/2021
 349.               NAME ON FILE                         900169/2021
 350.               NAME ON FILE                         900170/2021
 351.               NAME ON FILE                         900175/2021
 352.               NAME ON FILE                         900180/2021
 353.               NAME ON FILE                         900171/2021
 354.               NAME ON FILE                         900172/2021
 355.               NAME ON FILE                         900174/2021
 356.               NAME ON FILE                         900176/2021
 357.               NAME ON FILE                         900177/2021
 358.               NAME ON FILE                         900178/2021
 359.               NAME ON FILE                         900227/2021
 360.               NAME ON FILE                         900196/2021
 361.               NAME ON FILE                         400195/2021
 362.               NAME ON FILE                         900181/2021
 363.               NAME ON FILE                         900179/2021
 364.               NAME ON FILE                         900182/2021
 365.               NAME ON FILE                         518595/2021
 366.               NAME ON FILE                         519459/2021
 367.               NAME ON FILE                         614442/2021
 368.               NAME ON FILE                         614654/2021
 369.               NAME ON FILE                         614747/2021
 370.               NAME ON FILE                         614751/2021
 371.               NAME ON FILE                         614918/2021
 372.               NAME ON FILE                         614919/2021
 373.               NAME ON FILE                         614922/2021
 374.               NAME ON FILE                         900187/2021
 375.               NAME ON FILE                         900202/2021
 376.               NAME ON FILE                         900204/2021
 377.               NAME ON FILE                         900208/2021
 378.               NAME ON FILE                         900209/2021
 379.               NAME ON FILE                         900213/2021
 380.               NAME ON FILE                         900217/2021
 381.               NAME ON FILE                         900222/2021
 382.               NAME ON FILE                         900192/2021
 383.               NAME ON FILE                         614526/2021
 384.               NAME ON FILE                         900183/2021
 385.               NAME ON FILE                         900184/2021
 386.               NAME ON FILE                         900185/2021
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 388.               NAME ON FILE                         900193/2021
 389.               NAME ON FILE                         900195/2021
 390.               NAME ON FILE                         900198/2021
 391.               NAME ON FILE                         614752/2021
 392.               NAME ON FILE                         900212/2021
 393.               NAME ON FILE                         900211/2021
 394.               NAME ON FILE                         900210/2021
 395.               NAME ON FILE                         614911/2021
 396.               NAME ON FILE                         518736/2021
 397.               NAME ON FILE                         900225/2021
 398.               NAME ON FILE                         900229/2021
 399.               NAME ON FILE                         900230/2021
 400.               NAME ON FILE                         900232/2021
 401.               NAME ON FILE                         615146/2021
 402.               NAME ON FILE                         614921/2021
 403.               NAME ON FILE                         900242/2021
 404.               NAME ON FILE                         900112/2021
 405.               NAME ON FILE                         900129/2021
 406.               NAME ON FILE                         900221/2021
 407.               NAME ON FILE                         615121/2021
 408.               NAME ON FILE                         615122/2021
 409.               NAME ON FILE                         615134/2021
 410.               NAME ON FILE                         615135/2021
 411.               NAME ON FILE                         900235/2021
 412.               NAME ON FILE                         900245/2021
 413.               NAME ON FILE                         900246/2021
 414.               NAME ON FILE                         951014/2021
 415.               NAME ON FILE                         615133/2021
 416.               NAME ON FILE                         900262/2021
 417.               NAME ON FILE                         900269/2021
 418.               NAME ON FILE                         900271/2021
 419.               NAME ON FILE                         900275/2021
 420.               NAME ON FILE                         900277/2021
 421.               NAME ON FILE                         900265/2021
 422.               NAME ON FILE                         615333/2021
 423.               NAME ON FILE                         900286/2021
 424.               NAME ON FILE                         900289/2021
 425.               NAME ON FILE                         900303/2021
 426.               NAME ON FILE                         900298/2021
 427.               NAME ON FILE                         RESERVED
 428.               NAME ON FILE                         900301/2021
 429.               NAME ON FILE                         900305/2021
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 431.               NAME ON FILE                         615422/2021
 432.               NAME ON FILE                         900307/2021
 433.               NAME ON FILE                         900366/2021
 434.               NAME ON FILE                         520225/2021
 435.               NAME ON FILE                         951198/2021
 436.               NAME ON FILE                         614848/2021
 437.               NAME ON FILE                         900313/2021
 438.               NAME ON FILE                         900312/2021
 439.               NAME ON FILE                         900314/2021
 440.               NAME ON FILE                         615522/2021
 441.               NAME ON FILE                         615525/2021
 442.               NAME ON FILE                         615528/2021
 443.               NAME ON FILE                         615542/2021
 444.               NAME ON FILE                         900344/2021
 445.               NAME ON FILE                         900345/2021
 446.               NAME ON FILE                         900348/2021
 447.               NAME ON FILE                         900353/2021
 448.               NAME ON FILE                         900308/2021
 449.               NAME ON FILE                         900309/2021
 450.               NAME ON FILE                         900362/2021
 451.               NAME ON FILE                         900363/2021
 452.               NAME ON FILE                         900369/2021
 453.               NAME ON FILE                         900380/2021
 454.               NAME ON FILE                         900389/2021
 455.               NAME ON FILE                         900378/2021
 456.               NAME ON FILE                         900377/2021
 457.               NAME ON FILE                         900393/2021
 458.               NAME ON FILE                         900391/2021
 459.               NAME ON FILE                         900189/2021
 460.               NAME ON FILE                         900390/2021
 461.               NAME ON FILE                         900386/2021
 462.               NAME ON FILE                         900387/2021
 463.               NAME ON FILE                         900388/2021
 464.               NAME ON FILE                         900385/2021
 465.               NAME ON FILE                         900384/2021
 466.               NAME ON FILE                         900383/2021
 467.               NAME ON FILE                         900381/2021
 468.               NAME ON FILE                         900374/2021
 469.               NAME ON FILE                         900357/2021
 470.               NAME ON FILE                         900358/2021
 471.               NAME ON FILE                         900394/2021
 472.               NAME ON FILE                         900395/2021
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 474.               NAME ON FILE                         900398/2021
 475.               NAME ON FILE                         900397/2021
 476.               NAME ON FILE                         900402/2021
 477.               NAME ON FILE                         900401/2021
 478.               NAME ON FILE                         900163/2021
 479.               NAME ON FILE                         900294/2021
 480.               NAME ON FILE                         900131/2021
 481.               NAME ON FILE                         900364/2021
 482.               NAME ON FILE                         519751/2021
 483.               NAME ON FILE                         900220/2021
 484.               NAME ON FILE                         900116/2021
 485.               NAME ON FILE                         900403/2021
 486.               NAME ON FILE                         900116/2020
 487.               NAME ON FILE                         900081/2021
 488.               NAME ON FILE                         RESERVED
 489.               NAME ON FILE                         514631/2021
 490.               NAME ON FILE                         951159/2021
 491.               NAME ON FILE                         951160/2021
 492.               NAME ON FILE                         520085/2021
 493.               NAME ON FILE                         520003/2021
 494.               NAME ON FILE                         520779/2021
 495.               NAME ON FILE                         951389/2021
 496.               NAME ON FILE                         900191/2021
 497.               NAME ON FILE                         602850/2016
 498.               NAME ON FILE                         900259/2021
 499.               NAME ON FILE                         900260/2021
 500.               NAME ON FILE                         900261/2021
 501.               NAME ON FILE                         900264/2021
 502.               NAME ON FILE                         616239/2021
 503.               NAME ON FILE                         951246/2021
 504.               NAME ON FILE                         970001/2021
 505.               NAME ON FILE                         950946/2021
 506.               NAME ON FILE                         400091/2021




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